                                   Case 2:19-cv-00652-HCN-CMR Document 1 Filed 09/13/19 Page 1 of 1
.rs 44      (Rev. 08/ I8)                                                         CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of.court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk or Court for the
    purpose of initiating the CIVIi docket sheet. (.Wil!,' JNS'lRUCTJONS ON N!iXJ' PAG!i OF 1'/f!S J<Y)JIM.)
    I. (a) PLAINTIFFS                                                                                               DEFENDANTS
    BRIAN BAKER, on behalf of himself and all others similarly situated.                                          Comcast Corporation

         (b) County or Residence or First Listed Plaintiff                 Salt Lake                                County of Residence of rirst Listed Defendant                                        ---------------·-·----
                                       (l!XC!iF1' JN U.S. FLA!Nl'll'I' CASK~)                                                                                       (IN U.S. l'lAIN'/1/•FCASf,SONLl]
                                                                                                                    NOTE:           IN LAND CONDEMNATION CASES, USE THE LOCATION                                           or
                                                                                                                                    THE TRACT OF LAND INVOLVED.

      ( C) Attorneys (Firm Name, Address hand Talephone Numbm:l                                                      Attorneys (!f'Knoll'n}
    Brent R. Baker & Christopher o. Snow, Clyde, Snow & Sessions,
    201 S. Main St, Ste. 1300, Salt Lake City, UT 84111 & Adam Gonnelli,                                           Michael A. Gehret, Snell & Wilmer L.L.P.
    Sultzer Law Group, 280 Highway 35, Ste. 304, Red Bank, NJ 07701                                                15 W. South Temple, Ste. 1200, Salt Lake City, UT 84101

    IL BASIS OF .JURISDICTION (Placea11 "X" in011e lloxOnlyJ                                           III, CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                                          "X" ;11 one Boxfbr l'lain1iff
                                                                                                                 (Par Diversity Cases Only)                                                             and One !lox.for Defimda111)
    0 l     U.S. Government                 0 3      Federal Question                                                                      PTF                        DEF                                                PTF       DEF
               Plaintiff                               (U.S. Govern11w111 Nol a Par(y}                     Citizen ofThis State            ~ I                        0 I          lncorpornted or Principal Place        0 4      0 4
                                                                                                                                                                                      of Business In This Stale

    r::J 2 U.S. Government                  rs 4     Diversity                                             Citizen of Another State                      CJ 2          n      2    Incorporated a11d Principal Place
                                                                                                                                                                                      of Business In Another Stale
                                                                                                                                                                                                                                0 5    ~5
               Defendant                              (lmlicale Cilizenship of Par/ies i11 //em fl!)

                                                                                                           Citizen or Subject of a                       n      3      0      3    Foreign Nation                               0 6    0 6
                                                                                                             Forci1rn Countrv
    IV NATURE OF SUIT (/'lace an "X" in 011e Box 011!;~                                                                                                                 Cl 1c I<I1ere or: Nalurc ol.,su1t Co
                                                                                                                                                                                                          ., de [ kSCl'lllll011S.
I              <'QN'l'"ACT                                                TORTS                               FORl'ElTUREfPENALTY                                          BANKRUPTCY               --   ....     Ql'HER STATUTES              t
    0 110 l nsurnnce                            PERSONAL INJURY                PERSONAL INJURY             0 625 Drng Related Seizure                           o 422 Appeal 28 use 158                     0 375 False Claims Act
    0 120 Marine                           0    310 Airplane                 0 365 Personal Injnry •             of Property 21 USC 881                         0 423 Withdrawal                            0 376 Qui Tam (3 l USC
    0 DO Miller Act                        0    315 Airplane Product                Product Liability      0 690 Other                                                28 use 157                                    3729(a))
    0 140 Negotiable lnstnun_cnt                      Liability              0 367 Health Care/                                                                                                             0   400 State Reapportionment
    0 150 Recovery of Overpayment          0    320 Assault, Libel &               Plrnrnrnceutical                                                              -- PROPERTY IUGlffS                        0   ·ll 0 Antitrust
             & Enforcement of Judgment                Slander                      Personal lnju1y                                                              0 820 Copyrights                            0   430 Ganks and Banking
    r::J 151 Medicare Act                  Cl   330 Federnl Employers'             Product Liability                                                            0 830 Patent                                0   450 Commerce
    r::J 152 Rcc<>ve11• of Defaulted                  Liability              0 368 Asbestos Personal                                                            0 835 Patent· Abbreviated                   0   460 Deportation
             Student Loans                 0    340 Marine                          I njmy Product                                                                    New Drng Application                  0   470 Racketeer Influenced and
             (Excludes Veterans)           0    345 Marine Product                   Jjability                                                                  0 840 Trndemark                                     Corrupt Organizations
    0 153 Recovery of Overpayment                     Liability               PERSONAL PROPERTY             "•'          ,.:i"A\[J()j1F·; ,-,- :;   "<   5 .,                  ·.:,.,,.,( ~
                                                                                                                                                                --~--:<so'GIA."<
                                                                                                                                                                             0 480 Consumer Credit
                                                                                                                                                                                            "
             of Veteran's Genefits         0    350 Motor Vehicle            0 370 Other Fraud              0 710 Fair Labor Standards                          0 861        0 485 Telephone Consumer
                                                                                                                                                                           HIA (1395ff)
    D 160 Stockholders' Suits              CJ   355 Motor Vehicle            0 371 Truth in Lending                Act                                          IJ 862     Black Lung (923)
                                                                                                                                                                                    Protection Act
    l~ I 90 Other Contract                           Product Liability       0 380 Other Personal           0 720 LaborfManagement                              0 863        0 490 Cable/Sat TV
                                                                                                                                                                           DIWC/D!WW (405(g))
    0 195 Contract Product Liability       0    360 Other Personal                 Properly Damage                 Relations                                    0 864        0 850 SecuritiesfCommodities/
                                                                                                                                                                           SSID Title XVI
    CJ 196 Franchise                                 Injury                  0 385 Property Damage          0 740 Railway Labor Act                             0 865      RSI (405(g))
                                                                                                                                                                                    Exchange
                                           0    362 Personal Injury •              Product Liability        0 751 Family and Medical                                         0 890 Other Statutory Actions
                                                     Medical Malpractice                                           Leave Act                                                 0 891 Agriculturnl Acts
r         RIM:J, PROPERTY                       -. CIVIL RIGHTS               PRJSONER PETITIONS            0 790 Other Labor Litigation      ua<;HlilRW{!.TAiK StlJTS'. ·'' IJ 893 Environmental Maltcrs
    0 210 Land \onde111nation              0    440 Other Civil Rights         Habeas Corpus:               0 791 E111ployee Retirement     0 870 Taxes (U.S. Plaintiff      0 895 Freedom of lnfor111ation
    D 220 Foreclosnre                      iJ   441 Voting                   0 463 Alien Detainee                 Income Security Act             or Defendant)                     Act
    CJ230 Rent Lease & Ejectment           0    442 Employment               0 510 Motions to Vacate                                        0 871 TRS·-·-Third Party         LJ 896 Arbitration
    [J240 Torts to Land                    0    443 Housing/                       Sentence                                                       26 use 7609                0 899 Administrative Procedure
    0 245 Tori Product Liability                     Acco1111nodations       0 530 General                                                                                          Act/Review or Appeal of
    0 290 All Other Real Property          0    445 Amer. w/Disabilities.    0 535 Death Penally                  IMl\JIGRATION                                                     Agency Decision
                                                     Employment                Other:                       0 462 Natmalization Application                                  0 950 Constitutionality of'
                                           0    446 Amer. w/Disabilities •   0 540 Mandamus & Other         0 465 Other Immigration                                                 Stale Stat11tes
                                                     Other                   0 550 Civil Rights                   Actions
                                           0    448 Education                0 555 Prison Condition
                                                                             0 560 Civil Detainee·
                                                                                   Conditions of
                                                                                   Confinement
    V, ORIGIN               (l'lacea11 "X"inOne/JoxOn(y)
    0 I Original                 ~2 Removed from                 0    3      Remanded from             0 4 Reinstated or          0 5 Transferred from                             0 6 Multidistrict                  0 8 Multidistrict
            Proceeding                State Court                            Appellate Court               Reopened                   Another District                                 Litigation •                       Litigation·
                                                                                                                                              (.1pec!M                                 Transfer                           Direct File
                          Cite the U.S. Civil Statute under which you are filing (Do 11111 cltej11risdict/01111/ statutes 1111/ess diversity):
                            28 U.S.C. §§ 1332, 1441and1446
    VI, CA USE OF ACTION 1-B-r-ic-fd-e-sc-,r-iµ""ti""'on'--of-.c-a""'us'-c-:- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                            Breach of contract for services
    VII, REQUESTED IN     l'.3 CHECK IF THIS IS A CLASS ACTION                             DEMAND$                                  CHECK YES only if demanded in complaint:
         COMPLAINT:              UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:         ~Yes       ilNo
    VIII. RELATED                 CASl~(S)
                                                     (See instructiom);
          IF ANY                                                             JUDGE                                                                                   DOCKET NUMBER
    DATE                                                                        SIGNATURE OF ATTORNEY OF RECORD
    9/13/19                                                                    /s/ Michael A Gehret
    FOR OFFICE USE ONLY
                                                                                                                                                    Case: 2: 19-cv-00652
         RECEIPT II                    AMOUNT                                        APPLYING IFP
                                                                                                                                                    Assigned To: Nielson, Howard C., Jr
                                                                                                                                                    Assign. Date: 9/13/2019
                                                                                                                                                    Description: Baker v. Comcast
